                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 1 of 12
                                                                                                                                                                          Electronically Filed
                                                                                                                                                                          9/17/2020 4:48 PM
                                                                                                                                                                          Steven D. Grierson
                                                                                                                                                                          CLERK OF THE COURT

                                                                                           1   OPPM
                                                                                               SUZANNE L. MARTIN
                                                                                           2   Nevada Bar No. 8833
                                                                                               suzanne.martin@ogletreedeakins.com
                                                                                           3
                                                                                               ERICA J. CHEE
                                                                                           4   Nevada Bar No. 12238
                                                                                               erica.chee@ogletreedeakins.com
                                                                                           5   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                               Wells Fargo Tower, Suite 1500
                                                                                           6   3800 Howard Hughes Parkway
                                                                                               Las Vegas, NV 89169
                                                                                           7
                                                                                               Telephone: 702.369.6800
                                                                                           8   Fax: 702.369.6888

                                                                                           9   Attorneys for Defendant
                                                                                               TopGolf USA Las Vegas, LLC
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          10

                                                                                          11                              EIGHTH JUDICIAL DISTRICT COURT

                                                                                          12                                      CLARK COUNTY, NEVADA
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   CIARA WILLIAMS,                                          Case No.: A-18-784031-C
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                                                                                        Dept. No.: IV
                                                                                          14                         Plaintiff,
                                                                                          15   vs.                                                        TOPGOLF USA LAS VEGAS, LLC’S
                                                                                          16                                                               OPPOSITION TO PLAINTIFF’S
                                                                                               SILVINO HINOJOSA, AND TOPGOLF USA                             MOTION FOR AN ORDER
                                                                                          17   LAS VEGAS, LLC, DOES 1 through X,                            EXTENDING TIME TO FILE
                                                                                               inclusive AND ROES through X, inclusive,                      AMENDED COMPLAINT
                                                                                          18
                                                                                                                     Defendants.
                                                                                          19

                                                                                          20          Defendant TopGolf USA Las Vegas, LLC (“TopGolf” or “Defendant”), by and through its
                                                                                          21   counsel of record, files its Opposition to Plaintiff’s Motion for an Order Extending Time to File An
                                                                                          22   Amended Complaint (“Motion”).
                                                                                          23                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                          24   I.     INTRODUCTION
                                                                                          25          Plaintiff’s September 4, 2020, Motion is moot, and otherwise, defies common sense.
                                                                                          26          The Court granted Plaintiff’s Motion for Leave to Amend the Complaint – which TopGolf
                                                                                          27   did not oppose – on September 7, 2020, and has ordered the Third Amended Complaint filed by
                                                                                          28   Friday September 18, 2020. The Court’s subsequent Order thus moots Plaintiff’s motion.

                                                                                                                                                    1
                                                                                                                                  Case Number: A-18-784031-C
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 2 of 12




                                                                                           1           Otherwise, that Plaintiff is inclined to delay the filing of the amended complaint in the first

                                                                                           2   place, and her reasons for the same, do not make sense and are defied by the facts and procedural

                                                                                           3   history of this case.

                                                                                           4           For these reasons, Plaintiff’s Motion should be denied.

                                                                                           5   II.     FACTUAL BACKGROUND/PROCEDURAL HISTORY

                                                                                           6           On November 5, 2018, Plaintiff filed her lawsuit against Silvino Hinojosa (“Hinojosa” or

                                                                                           7   “Co-Defendant”) and TopGolf (collectively referred to as “Defendants”) asserting ten causes of

                                                                                           8   action, including unlawful discriminatory employment practices. However, prior to filing this

                                                                                           9   lawsuit, or serving TopGolf with a summons and complaint, Plaintiff did not file a charge of

                                                                                          10   discrimination with the Equal Employment Opportunity Commission (“EEOC”) nor the Nevada
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11   Equal Rights Commission (“NERC”), which is a jurisdictional prerequisite to the pursuit of

                                                                                          12   employment discrimination claims under federal and state law, respectively. (Declaration of Erica
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   Chee (“Chee Decl.”), attached as Exhibit A, ¶4.)
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14           On January 7, 2019, Plaintiff filed an Amended Complaint alleging seven causes of action

                                                                                          15   against Defendants and removing, among others, the cause of action for employment

                                                                                          16   discrimination. (Chee Decl., ¶5.) Yet, all of the allegations in Plaintiff’s Amended Complaint stem

                                                                                          17   from her employment at TopGolf.

                                                                                          18           On March 28, 2019, TopGolf filed a Motion to Dismiss Plaintiff’s Amended Complaint.

                                                                                          19   TopGolf argued, inter alia, that Plaintiff’s tort claims were subject to dismissal because they were

                                                                                          20   disguised as employment discrimination claims, namely, sex discrimination and harassment

                                                                                          21   claims, for which statutory remedies already exist. (Chee Decl., ¶6.) TopGolf specifically argued

                                                                                          22   that the state and federal legislatures carved out statutory protections and relief for sexual

                                                                                          23   discrimination and harassment in the employment context under NRS. 613.330 et al. and Title VII

                                                                                          24   of the 1964 Civil Rights Act (“Title VII”). However, Plaintiff’s complaint had not stated claims

                                                                                          25   for sexual harassment, sex discrimination, or retaliation under Title VII or Nevada law - yet.

                                                                                          26           The parties fully briefed the issues, and the motion to dismiss was heard on June 20, 2019.

                                                                                          27   The Court granted the Motion to Dismiss in part, and denied the Motion to Dismiss in part. (Chee

                                                                                          28   Decl., ¶8.) Plaintiff was ordered to file an amended complaint on or before July 5, 2019.


                                                                                                                                                  2
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 3 of 12




                                                                                           1          On June 28, 2019, Plaintiff filed a Second Amended Complaint asserting ten causes of

                                                                                           2   action, including a claim for “unlawful discriminatory employment practices” under the state law,

                                                                                           3   specifically NRS 613.330 et. al. (Chee Decl., ¶9.) However, Plaintiff had filed a Charge of

                                                                                           4   Discrimination with the Equal Employment Opportunity Commission (“EEOC”), the necessary

                                                                                           5   pre-requisite to her filing suit for violations of federal law, and specifically, Title VII of the 1964

                                                                                           6   Civil Rights Act. (Id., ¶7.) On July 12, 2019, TopGolf filed its Answer to the Second Amended

                                                                                           7   Complaint. (Id., ¶10.)

                                                                                           8          Plaintiff knew, and had ample opportunity in the months that followed to amend her

                                                                                           9   complaint to include her federal claim for relief under Title VII, yet she waited until June 22, 2020,

                                                                                          10   to file a motion to do so. (Chee Decl., ¶11.) The Motion included the proposed Third Amended
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11   Complaint, which added the proper cause of action for sexual harassment under Title VII, and

                                                                                          12   eliminated the claims pled under NRS 613.330. (Id.) Despite its objection to Plaintiff’s delay and
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   the additional parties, TopGolf filed a notice of non-opposition notifying the Court and all parties
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14   that it intended to remove the matter once the Third Amended Complaint was on file.

                                                                                          15          While the motion for leave to file the third amended complaint was pending, TopGolf

                                                                                          16   asked Plaintiff to stipulate to the filing of the Third Amended Complaint. Plaintiff refused. (Chee

                                                                                          17   Decl., ¶12.)

                                                                                          18          On August 15, 2020, the Court issued a minute order granting Plaintiff’s Motion to Amend

                                                                                          19   the Complaint and further ordering Plaintiff’s counsel prepare the Order in accordance with EDCR

                                                                                          20   7.21. (Chee Decl., ¶13.) TopGolf was not served with a copy of the minute order, nor did Plaintiff

                                                                                          21   prepare an Order. On notice of the Court’s minute order, and having not received a proposed

                                                                                          22   Order, TopGolf took the initiative to prepare a proposed Order in compliance with the Court’s

                                                                                          23   minute order and submitted it to Plaintiff’s counsel. (Id., ¶14.) Plaintiff’s counsel objected and

                                                                                          24   refused to approve the proposed Order. To avoid further delay, and a rebuke from the Court, on

                                                                                          25   August 27, 2020, TopGolf submitted the Order and informed the Court of the dispute over the

                                                                                          26   timing of the filing of the Third Amended Complaint. (Id.)

                                                                                          27          On September 4, 2020, after TopGolf submitted the Order, Plaintiff filed this Motion,

                                                                                          28   requesting additional time to file the Third Amended Complaint. (Chee Decl., ¶15.)


                                                                                                                                                 3
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 4 of 12




                                                                                           1           Three days later, on September 7, 2020, the Court signed the proposed Order submitted by

                                                                                           2   TopGolf, and ordered Plaintiff to file the Third Amended Complaint within ten days from notice of

                                                                                           3   entry of the Order. (Id., ¶16.)

                                                                                           4           The Notice of Entry was filed on September 8, 2020, and by operation of the Court’s Order,

                                                                                           5   Plaintiff’s must file the Third Amended Complaint on September 18, 2020. (Id.)

                                                                                           6           The parties had three depositions scheduled prior to the September 18, 2020 deadline to file

                                                                                           7   the Third Amended Complaint. (Chee Decl., ¶17.) The depositions of Natalie Pueblas (“Ms.

                                                                                           8   Pueblas”) and Elba Servin (“Ms. Servin”) were scheduled for September 14, 2020, and Plaintiff’s

                                                                                           9   deposition was scheduled for September 16, 2020. (Id.) Natalie Pueblas’s deposition has been

                                                                                          10   continued to Monday September 21, 2020. (Id., ¶18.)
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11   III.    RESPONSE TO MOTION

                                                                                          12           A.      Plaintiff’s Motion Is Moot
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13           TopGolf submitted a proposed Order with a letter explaining the meet and confer efforts
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14   with Plaintiff’s counsel and Plaintiff’s counsel’s objections on August 27, 2020. Oddly, Plaintiff

                                                                                          15   now seeks to delay the very same pleading she sought leave from the Court to file. On September

                                                                                          16   4, 2020, she filed the Motion, asking for 30 days to file the Third Amended Complaint. On

                                                                                          17   September 7, 2020, the Court modified and signed the proposed Order submitted by TopGolf, and

                                                                                          18   further ordered Plaintiff to file her amended complaint within 10 days of the Notice of Entry of

                                                                                          19   Order. The Notice of Entry was filed on September 8, 2020, and Plaintiff’s deadline to file the

                                                                                          20   Third Amended Complaint is September 18, 2020. As a result of the Court’s Order filed after

                                                                                          21   Plaintiff’s Motion, Plaintiff’s Motion is moot.

                                                                                          22           B.      Plaintiff’s Proffered Reason for the Extension – Depositions – Is Belied By the
                                                                                                               Deposition Schedule and Removal Rules
                                                                                          23
                                                                                                       Plaintiff argues that she needs more time to file the Third Amended Complaint out of
                                                                                          24
                                                                                               concern that the depositions of important witnesses Natali Pueblas and Elba Servin and that of the
                                                                                          25
                                                                                               Plaintiff, will not be able to proceed once this matter is removed. The facts, and applicable rules
                                                                                          26
                                                                                               refute this argument in its entirety.
                                                                                          27
                                                                                                       Plaintiff scheduled the depositions of Ms. Pueblas and Ms. Servin for September 14, 2020,
                                                                                          28


                                                                                                                                                 4
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 5 of 12




                                                                                           1   and TopGolf has scheduled the deposition of Plaintiff on September 16, 2020. A cursory review of

                                                                                           2   any calendar reveals the depositions were scheduled to be completed before the Third Amended

                                                                                           3   Complaint was due to be filed.

                                                                                           4          As of the filing of this Response, Ms. Servin’s September 14 deposition and Plaintiff’s

                                                                                           5   September 16 deposition are complete. While Ms. Pueblas’ deposition did not go forward on

                                                                                           6   September 14, she has agreed with Plaintiff’s counsel to appear on Monday September 21, 2020.

                                                                                           7          Per 28 U.S.C. § 1441 and 1446, TopGolf has 30-days to remove Plaintiff’s Third Amended

                                                                                           8   Complaint, or, based on a filing date of September 18, 2020, up to October 19, 2020, to remove

                                                                                           9   this matter to federal court. Ms. Servin’s deposition will be completed Monday September 21,

                                                                                          10   2020. TopGolf will timely remove, but will not do so in such a way that would disrupt or delay
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11   this deposition. Further, to the extent there are additional depositions besides those identified in

                                                                                          12   Plaintiff’s Motion that need to be scheduled and completed before TopGolf removes the lawsuit,
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   surely, the parties can meet-and-confer to coordinate such discovery, with an eye towards avoiding,
                                                         Telephone: 702.369.6800




                                                                                               or at least minimize the delays removal and the procedural requirements that accompany the same
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14

                                                                                          15   may cause.

                                                                                          16          C.      TopGolf Requests An Order To Show Cause If Plaintiff Refuses To Follow The
                                                                                                              Court’s September 7, 2020 Order
                                                                                          17
                                                                                                      Although the Motion is moot, and Plaintiff’s proffered reasons for delay meritless, TopGolf
                                                                                          18
                                                                                               anticipates that Plaintiff will refuse to follow the Court’s Order and timely file the Third Amended
                                                                                          19
                                                                                               Complaint on Friday September 18, 2020.          TopGolf therefore requests that in the event of
                                                                                          20
                                                                                               Plaintiff’s failure to file the amended complaint, the Court set the matter for an Order to Show
                                                                                          21
                                                                                               Cause as to Plaintiff’s refusal to follow the Court’s Order.
                                                                                          22
                                                                                               ///
                                                                                          23
                                                                                               ///
                                                                                          24
                                                                                               ///
                                                                                          25
                                                                                               ///
                                                                                          26
                                                                                               ///
                                                                                          27
                                                                                               ///
                                                                                          28


                                                                                                                                                 5
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 6 of 12




                                                                                           1   IV.   CONCLUSION

                                                                                           2         For the reasons set forth herein, Plaintiff’s Motion should be denied.

                                                                                           3         DATED this 17th day of September, 2020
                                                                                                                                OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                           4

                                                                                           5                                       /s/ Erica J. Chee
                                                                                                                                   Suzanne L. Martin
                                                                                           6                                       Nevada Bar No. 8833
                                                                                                                                   Erica J. Chee
                                                                                           7
                                                                                                                                   Nevada Bar No. 12238
                                                                                           8                                       3800 Howard Hughes Parkway
                                                                                                                                   Suite 1500
                                                                                           9                                       Las Vegas, NV 89169
                                                                                                                                   Attorneys for Defendant TopGolf USA Las Vegas, LLC
                                                                                          10
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11

                                                                                          12
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14

                                                                                          15

                                                                                          16

                                                                                          17

                                                                                          18

                                                                                          19

                                                                                          20

                                                                                          21

                                                                                          22

                                                                                          23

                                                                                          24

                                                                                          25

                                                                                          26

                                                                                          27

                                                                                          28


                                                                                                                                               6
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 7 of 12




                                                                                           1                                     CERTIFICATE OF SERVICE

                                                                                           2          I hereby certify that, pursuant to NEFCR 9(a), I electronically transmitted the foregoing

                                                                                           3   TOPGOLF USA LAS VEGAS, LLC’S OPPOSITION TO PLAINTIFF’S MOTION FOR AN

                                                                                           4   ORDER EXTENDING TIME TO FILE AMENDED COMPLAINT to the Clerk’s Office using

                                                                                           5   the electronic filing process for the Eighth Judicial District Court to the following registrant:

                                                                                           6          James J. Lee, Esq.

                                                                                           7          Pursuant to Nevada Rule of Civil Procedure 5(b), I hereby further certify that service of the
                                                                                           8   foregoing document was also made by depositing a true and correct copy of same for mailing, first
                                                                                           9   class mail, postage prepaid thereon, at Las Vegas, Nevada, to the following:
                                                                                          10   James J. Lee, Esq.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                               Legal Offices of James J. Lee
                                                                                          11   2620 Regatta Drive #102
                                                                                          12   Las Vegas, NV 89128
                                                                                               Attorneys for Plaintiff
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13
                                                                                               Silvino Hinojosa, ID #01722886
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14   Clark County Detention Center
                                                                                               330 S. Casino Center Boulevard
                                                                                          15   Las Vegas, NV 89101-6102
                                                                                          16   Defendant in pro se

                                                                                          17          Dated this 17th day of September, 2020.

                                                                                          18                                                       /s/ Monica Gonzalez
                                                                                                                                                    An Employee of Ogletree, Deakins, Nash,
                                                                                          19                                                        Smoak & Stewart, P.C.
                                                                                          20

                                                                                          21

                                                                                          22

                                                                                          23

                                                                                          24

                                                                                          25

                                                                                          26

                                                                                          27

                                                                                          28


                                                                                                                                                  7
Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 8 of 12




                   EXHIBIT A
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 9 of 12




                                                                                           1   DECL
                                                                                               SUZANNE L. MARTIN
                                                                                           2   Nevada Bar No. 8833
                                                                                               suzanne.martin@ogletreedeakins.com
                                                                                           3
                                                                                               ERICA J. CHEE
                                                                                           4   Nevada Bar No. 12238
                                                                                               erica.chee@ogletreedeakins.com
                                                                                           5   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                               Wells Fargo Tower, Suite 1500
                                                                                           6   3800 Howard Hughes Parkway
                                                                                               Las Vegas, NV 89169
                                                                                           7
                                                                                               Telephone: 702.369.6800
                                                                                           8   Fax: 702.369.6888

                                                                                           9   Attorneys for Defendant
                                                                                               TopGolf USA Las Vegas, LLC
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          10

                                                                                          11                              EIGHTH JUDICIAL DISTRICT COURT

                                                                                          12                                      CLARK COUNTY, NEVADA
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   CIARA WILLIAMS,                                          Case No.: A-18-784031-C
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                                                                                        Dept. No.: IV
                                                                                          14                         Plaintiff,
                                                                                          15   vs.                                                      DECLARATION OF ERICA J. CHEE IN
                                                                                          16                                                            SUPPORT OF DEFENDANT TOPGOLF
                                                                                               SILVINO HINOJOSA, AND TOPGOLF USA                        USA LAS VEGAS, LLC’S OPPOSITION
                                                                                          17   LAS VEGAS, LLC, DOES 1 through X,                         TO PLAINTIFF’S MOTION FOR AN
                                                                                               inclusive AND ROES through X, inclusive,                  ORDER EXTENDING TIME TO FILE
                                                                                          18                                                                 AMENDED COMPLAINT
                                                                                                                     Defendants.
                                                                                          19

                                                                                          20

                                                                                          21          I, Erica J. Chee, declare and state as follows:

                                                                                          22          1.      I am an attorney with the law firm of Ogletree, Deakins, Nash, Smoak & Stewart,

                                                                                          23   P.C., and am duly licensed to practice law in the State of Nevada, and in that capacity, represent

                                                                                          24   Defendant TopGolf USA Las Vegas, LLC (“TopGolf”) in this action.

                                                                                          25          2.      I have personal knowledge of the events described in this Declaration, and the

                                                                                          26   information set forth is true and correct to the best of my knowledge.

                                                                                          27

                                                                                          28

                                                                                                                                                 1
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 10 of 12




                                                                                           1          3.      I offer this Declaration in Support of Defendant TopGolf’s Opposition to Plaintiff’s

                                                                                           2   Motion for an Order Extending Time to File An Amended Complaint (“Plaintiff’s Motion”). I am

                                                                                           3   competent to testify as to all matters herein if called to do so.

                                                                                           4          4.      On November 5, 2018, Plaintiff Ciara Williams (“Plaintiff”) filed her lawsuit

                                                                                           5   against TopGolf and Silvino Hinojosa (“Defendant Hinojosa”) in the Clark County Eighth Judicial

                                                                                           6   District Court, Case Number A-18-784031-C. Prior to filing this lawsuit, or serving TopGolf with

                                                                                           7   a summons and complaint, Plaintiff did not file a charge of discrimination with the EEOC nor the

                                                                                           8   NERC, which is a jurisdictional pre-requisite.

                                                                                           9          5.      On January 7, 2019, Plaintiff filed her Amended Complaint alleging seven causes of

                                                                                          10   action against Defendants and removing, among others, the cause of action for employment
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11   discrimination. Plaintiff had not made any claims against TopGolf for sexual harassment, sex

                                                                                          12   discrimination, or retaliation under Title VII or Nevada law in her Amended Complaint.
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13          6.      On March 28, 2019, TopGolf filed a Motion to Dismiss Plaintiff’s Amended
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169




                                                                                               Complaint. TopGolf argued, inter alia, that Plaintiff’s tort claims were subject to dismissal because
                                                            Wells Fargo Tower




                                                                                          14

                                                                                          15   they were disguised as employment discrimination claims, namely, sex discrimination and

                                                                                          16   harassment claims, for which statutory remedies already exist.

                                                                                          17          7.      While the parties were briefing TopGolf’s Motion to Dismiss Plaintiff’s Amended

                                                                                          18   Complaint, Plaintiff requested and received her Notice of Right to Sue from the Equal

                                                                                          19   Employment Opportunity Commission (“EEOC”) based on a Charge of Discrimination she had

                                                                                          20   filed on December 5, 2018.

                                                                                          21          8.      TopGolf’s Motion to Dismiss was heard before this Court on June 20, 2019. The

                                                                                          22   Court granted the Motion to Dismiss in part, and denied the Motion to Dismiss in part.

                                                                                          23          9.      On June 28, 2019, Plaintiff filed a Second Amended Complaint asserting 10 causes

                                                                                          24   of action.   Plaintiff amended her complaint to include a claim for “unlawful discriminatory

                                                                                          25   employment practices” under NRS 613.330 et. al.

                                                                                          26          10.     On July 12, 2019, TopGolf filed its Answer to the Second Amended Complaint

                                                                                          27   asserting affirmative defenses, including Plaintiff’s failure to timely exhaust her administrative

                                                                                          28   remedies with the NERC.


                                                                                                                                                   2
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 11 of 12




                                                                                           1          11.     On June 22, 2020, Plaintiff filed her Motion to Amend the Complaint and attached a

                                                                                           2   proposed Third Amended Complaint. TopGolf subsequently filed a notice of non-opposition

                                                                                           3   notifying the Court and all parties that it intended to remove the matter once the Third Amended

                                                                                           4   Complaint was on file.

                                                                                           5          12.     Thereafter, I contacted Plaintiff’s counsel, James Lee, and asked if he would

                                                                                           6   stipulate to the filing the Third Amended Complaint so the parties could move forward with

                                                                                           7   litigation without any undue delay. Mr. Lee rejected the offer to stipulate.

                                                                                           8          13.     On August 15, 2020, the Court issued a minute order granting Plaintiff’s Motion to

                                                                                           9   Amend the Complaint and requesting that [Plaintiff’s] Counsel prepare the Order in accordance

                                                                                          10   with EDCR 7.21.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11          14.     TopGolf was not served with a copy of the minute order nor did Plaintiff prepare an

                                                                                          12   Order. On notice of the Court’s minute order, and having not received a proposed Order, my office
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   subsequently prepared a proposed Order in compliance with the Court’s minute order and
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14   submitted to Mr. Lee for review and approval. Mr. Lee objected and refused to sign. I prepared a

                                                                                          15   letter to the Court describing the parties’ meet and confer efforts and submitted the proposed Order

                                                                                          16   on August 27, 2020. The Court later asked that both documents be submitted separately and the

                                                                                          17   Order was submitted again on Augsut 28, 2020 and the letter was submitted on August 29, 2020.

                                                                                          18          15.     Plaintiff filed this instant motion on September 4, 2020 requesting additional time to

                                                                                          19   file the Third Amended Complaint.

                                                                                          20          16.     On September 7, 2020, the Court executed the Order submitted by TopGolf, and

                                                                                          21   ordered Plaintiff to file the Third Amended Complaint within ten days from notice of entry of the

                                                                                          22   Order. The Notice of Entry was filed on September 8, 2020, and Plaintiff’s deadline to file the

                                                                                          23   Third Amended Complaint is September 18, 2020.

                                                                                          24          17.     The parties have three depositions scheduled prior the September 18, 2020 deadline.

                                                                                          25   The depositions of Natalie Pueblas (“Ms. Pueblas”) and Elba Servin (“Ms. Servin”) were

                                                                                          26   scheduled for September 14, 2020 and Plaintiff’s deposition is scheduled for September 16, 2020.

                                                                                          27          18.     At Ms. Pueblas’ deposition scheduled for September 14, 2020, Ms. Pueblas did not

                                                                                          28   show. Ms. Lee, Plaintiff’s counsel’s paralegal and law clerk, mentioned during the discussion of


                                                                                                                                                 3
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-14 Filed 11/06/20 Page 12 of 12




                                                                                           1   Ms. Pueblas’ participation, that when served on September 11, 2020, Ms. Pueblas remarked she

                                                                                           2   not appear. Through further communications with Plaintiff’s counsel, Ms. Pueblas has now agreed

                                                                                           3   to appear on Monday, September 21, 2020 for her deposition.

                                                                                           4          I declare under penalty of perjury to the laws of the State of Nevada that the foregoing is

                                                                                           5   true and correct.

                                                                                           6          EXECUTED this 17th day of September, 2020.

                                                                                           7

                                                                                           8                                               _____________________________________
                                                                                                                                           Erica J. Chee
                                                                                           9
                                                                                          10
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11

                                                                                          12
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14

                                                                                          15

                                                                                          16

                                                                                          17

                                                                                          18

                                                                                          19
                                                                                          20                                                                                            44217849.1

                                                                                          21

                                                                                          22

                                                                                          23

                                                                                          24

                                                                                          25

                                                                                          26
                                                                                          27

                                                                                          28


                                                                                                                                               4
